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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et     §
al.,                               §
           Plaintiffs,             §
                                   §           5:21-CV-0844-XR
v.                                 §
                                   §
GREGORY W. ABBOTT, et al.,         §
         Defendants.

OCA-GREATER HOUSTON, et al.,       §
          Plaintiffs,              §
                                   §
v.                                 §           1:21-CV-0780-XR
                                   §
JOSE A. ESPARZA, et al.,           §
            Defendants.            §

HOUSTON JUSTICE, et al.,           §
           Plaintiffs,             §
                                   §
v.                                 §           5:21-CV-0848-XR
                                   §
GREGORY WAYNE ABBOTT, et al.,      §
         Defendants.               §

LULAC TEXAS, et al.,               §
           Plaintiffs,             §
                                   §
v.                                 §           1:21-CV-0786-XR
                                   §
JOSE ESPARZA, et al.,              §
           Defendants.             §

MI FAMILIA VOTA, et al.,           §
            Plaintiffs,            §
                                   §
v.                                 §           5:21-CV-0920-XR
                                   §
GREG ABBOTT, et al.,               §
          Defendants.              §


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       On this day came on to be considered the status of this case.

                                        BACKGROUND

       On September 7, 2021, the Governor of the State of Texas signed S.B. 1. Various plaintiffs

now bring challenges arguing that the legislation violates provisions of the Voting Rights Act, 42

U.S.C. § 1983, the Civil Rights Act of 1964, the Americans with Disabilities Act, the

Rehabilitation Act; and the First, Fourteenth and Fifteenth Amendments to the United States

Constitution. All the above cases were either assigned to or transferred to the Undersigned for

purposes of judicial economy.

                                            ORDER

   1. The Defendants’ Motion to Consolidate (Dkt. No. 24) these cases is GRANTED. The

       cases involve common questions of law and fact, and the interests of judicial economy

       dictate that the matters be consolidated. The Court hereby ORDERS that OCA-Greater

       Houston v. Esparza, No. 1:21-cv-780 (W.D. Tex.); Houston Justice v. Abbott, No. 5:21-

       cv-848 (W.D. Tex.); LULAC Texas v. Esparza, No. 1:21-cv-786 (W.D. Tex.) and Mi

       Familia Vota v. Abbott, No. 5: 21-cv-920 be consolidated into La Unión del Pueblo Entero

       v. Abbott, No. 5:21-cv-844 (W.D. Tex.). It is ORDERED that all future filings be filed in

       La Unión del Pueblo Entero v. Abbott, No. 5:21-cv-844 (W.D. Tex.).

   2. Unless otherwise ordered, all served Defendants shall file an answer on or before October

       25, 2021.

   3. Should any Defendant desire to file a motion to dismiss based on Twombly, any such

       Defendant is ordered to meet and confer with the affected Plaintiff(s) prior to the filing of

       any such motion to determine whether the Plaintiff(s) will agree to amend the complaint,

       thus saving the necessity of any unnecessary motion being filed.

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4. Inasmuch as at least one or more of the claims asserted in these cases will likely survive

   any motion to dismiss, the filing of any motion to dismiss will NOT abate discovery from

   moving forward.

5. Because of the transitory nature of any electronically stored information kept in cell phones

   or mobile devices, should any party desire to serve a request for production for relevant

   data to a third party in this case, leave is granted at this time to issue any subpoenas pursuant

   to FED. R. CIV. P. 45. Any such requests should be specific, and the movant must take

   reasonable steps to avoid imposing undue burden or expense on the person or entity subject

   to the subpoena. FED. R. CIV. 45(d).

6. Pursuant to FED. R. CIV. P. 26(f), the parties are directed to now begin coordinating “meet

   and confer” conferences (in person or by videoconferencing). In addition to the items listed

   in Rule 26(f)(2) to be addressed, the parties shall confer on the following additional topics:

   (a) Who are the key witnesses/players and custodians of information and data?

   (b) Will subpoenas need to be issued to various individuals/entities under Rule 45,

       or will Defendants agree they are in possession, custody, or control of data such

       that service of requests for production pursuant to Rule 34 will suffice?

   (c) How did the witnesses communicate with others about relevant facts? (e.g., text

       message, email, instant messaging (e.g., WhatsApp, Facebook Messenger,

       etc.), video conferencing, Dropbox, Flickr, Slack, Teams, etc.)?

   (d) Have steps been taken to preserve relevant data? The Court expects that all

       relevant data will be preserved, regardless of its potentially privileged nature.

       Whether any data or documents are subject to any attorney-client, work product

       or legislative privilege will be determined separately.



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   (e) Has a litigation hold letter been disseminated?

   (f) What form(s) will be used for the production of data?

   (g) Are there any claims asserted that will not require discovery and for which the

       filing of immediate cross motions for summary judgment would be appropriate?

   (h) Do any of the complaints need to be amended? Should one omnibus complaint

       be filed?

   (i) What facts can be stipulated to by the parties? The Court oftentimes is provided

       documents titled “Plaintiff’s Agreed Facts” and “Defendant’s Agreed Facts.”

       These are not stipulated facts. The Court expects that uncontested facts (and

       language) be stipulated to.

   (j) What documents/data can be agreed to as “authentic” for evidentiary purposes?

   (k) Should the Court enter a FED. R. EVID. 502(d) Order?

   (l) Isabel Longoria is noted as a Plaintiff in 21-cv-844 and as a Defendant in 21-

       cv-780, 21-cv-848, and 21-cv-786. How is this issue going to be addressed?

   (m) Are there any standing issues for each cause of action that must be addressed

       by way of adding a party?

   (n) Who will serve as lead counsel?

7. All parties are ordered to serve their initial Rule 26(a)(1) disclosures no later than

   November 5, 2021. “By signing, an attorney or party certifies that to the best of the

   person's knowledge, information, and belief formed after a reasonable inquiry: (A) with

   respect to a disclosure, it is complete and correct as of the time it is made.” FED. R. CIV.

   P. 26(g) (emphasis added).        “If a certification violates this rule without substantial

   justification, the court, on motion or on its own, must impose an appropriate sanction on



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   the signer, the party on whose behalf the signer was acting, or both. The sanction may

   include an order to pay the reasonable expenses, including attorney's fees, caused by the

   violation.” FED. R. CIV. P. 26(g)(3).

8. An initial pretrial conference shall be conducted on November 16, 2021 at 1:30 p.m. by

   video conference pursuant to FED. R. CIV. P. 16. The Court expects that the parties will be

   fully prepared to discuss all matters set forth in FED. R. CIV. P. 16(c). On motion or on its

   own, the Court may issue any just orders, including those authorized by Rule

   37(b)(2)(A)(ii)–(vii), if a party or its attorney is substantially unprepared to participate—

   or does not participate in good faith—in the conference. See FED. R. CIV. P. 16(f). The

   Courtroom Deputy will inform the parties of how the video conference will be conducted.

9. The parties shall file a report under FED. R. CIV. P. 26(f) addressing the above questions

   and proposing a discovery plan and scheduling order, no later than November 9, 2021.

   It is so ORDERED.

   SIGNED this September 30, 2021.




                                                 XAVIER RODRIGUEZ
                                                 UNITED STATES DISTRICT JUDGE




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